Case 2:20-cv-13134-LVP-RSW ECF No. 107, PageID.4455 Filed 02/04/21 Page 1 of 4




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER and DAREN WADE
 RUBINGH,                                           No. 2:20-cv-13134


               Plaintiffs,                          Hon. Linda V. Parker
   v.

 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of
 Michigan, et al,

               Defendants,

  and

 CITY OF DETROIT, et al,

               Intervenor-Defendants.

 INTERVENOR-DEFENDANT CITY OF DETROIT’S EX PARTE MOTION
                 TO EXTEND PAGE LIMIT

        Intervenor-Defendant City of Detroit (the “City”), by and through counsel,

respectfully requests leave to file its Reply to Plaintiffs’ Response in Opposition to

the City of Detroit’s Motion to Dismiss and for an Award of Sanctions in excess of

the page limit. In support of this request, the City states:


                                            1
Case 2:20-cv-13134-LVP-RSW ECF No. 107, PageID.4456 Filed 02/04/21 Page 2 of 4




      1.     Plaintiffs filed a 25-page Response to the City’s Motion to Dismiss and

for an Award of Sanctions, focusing almost exclusively on the request for sanctions

(ECF No. 85).

      2.     Pursuant to Local Rule 7.1(d)(3), a reply brief may not exceed 7 pages.

However, the Rule permits parties to apply ex parte to file a longer brief. Moreover,

this Court has encouraged parties to request a page limit extension “[w]hen page

limits are inadequate for a party’s needs ….” Elhady v Bradley, 438 F. Supp. 3d 797,

821 n. 11 (E.D. Mich. 2020).

      3.     The City requests leave to file a reply brief not to exceed 10 pages, in

order to address the full scope of legal and factual issues raised by, and incorporated

into, Plaintiffs’ Response.

      4.     The City has attempted to limit the length of the brief without

sacrificing clarity and/or its ability to address the factual and legal issues supporting

its reply. However, due to the number of factual and legal issues needing to be

addressed, the City, through counsel, has been unable to limit the brief to 7 pages.

      WHEREFORE, the City respectfully requests that this Court permit it to file

a reply brief not to exceed 10 pages in support of its Motion to Dismiss and for an

Award of Sanctions.




                                           2
Case 2:20-cv-13134-LVP-RSW ECF No. 107, PageID.4457 Filed 02/04/21 Page 3 of 4




                                          Respectfully submitted,

                                          FINK BRESSACK

                                          By: /s/ David H. Fink
                                          David H. Fink (P28235)
                                          Nathan J. Fink (P75185)
                                          Attorneys for City of Detroit
                                          38500 Woodward Ave., Ste. 350
                                          Bloomfield Hills, MI 48304
                                          Tel: (248) 971-2500
                                          dfink@finkbressack.com
                                          nfink@finkbressack.com




                                      3
Case 2:20-cv-13134-LVP-RSW ECF No. 107, PageID.4458 Filed 02/04/21 Page 4 of 4




                          CERTIFICATE OF SERVICE

      I hereby certify that on February 4, 2021, I electronically filed the foregoing

paper with the Clerk of the court using the electronic filing system, which sends

notice to all counsel of record.

                                      FINK BRESSACK

                                      By: /s/ Nathan J. Fink
                                      Nathan J. Fink (P75185)
                                      38500 Woodward Ave., Suite 350
                                      Bloomfield Hills, MI 48304
                                      Tel: (248) 971-2500
                                      nfink@finkbressack.com




                                         4
